Case 22-42980-mxm11                     Doc 24        Filed 01/23/23 Entered 01/23/23 12:34:08                                     Desc Main
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